 Case: 4:13-cv-00579-JAR Doc. #: 39 Filed: 01/07/14 Page: 1 of 3 PageID #: 1070



                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

JEROME JURGENS,
Individually and on behalf of all others
similarly situated,

               Plaintiff,
                                                                 Case No. 4:13-CV-579 JAR
       vs.

MICHAELS STORES, INC.,

               Defendant.


                                    JOINT STATUS REPORT

       The parties, for their joint status report, state:

       1.      The parties have reached an agreement in principal, have finalized the settlement

papers, and are working to get the papers executed.

       2.      The parties will report back or file dismissal stipulations by January 10, 2014.

       3.      The parties request that the stay remain in effect until such date.
Case: 4:13-cv-00579-JAR Doc. #: 39 Filed: 01/07/14 Page: 2 of 3 PageID #: 1071




                                   Respectfully submitted,

                                   HUSCH BLACKWELL LLP
                                   Bryan O. Wade, #41939
                                   901 St. Louis Street, Suite 1800
                                   Springfield, MO 65806
                                   T: 417.862.6726
                                   F: 417.862.6948
                                   bryan.wade@huschblackwell.com

                                   and

                                   /s/ Brandon B. Cate
                                   Brandon B. Cate (pro hac vice)
                                   QUATTLEBAUM, GROOMS,
                                     TULL & BURROW, PLLC
                                   4100 Corporate Center Drive, Suite 310
                                   Springdale, AR 72762
                                   T: 479.444.5205
                                   F: 479.444.5255
                                   bcate@qgtb.com

                                   ATTORNEYS FOR DEFENDANT

                                   /s/ Stephen F. Gaunt (w/permission)
                                   Stephen F. Gaunt
                                   STEELMAN, GAUNT & HORSEFIELD
                                   P.O. Box 1257
                                   Rolla, MO 65402
                                   T: 573.341.8336
                                   F: 573.341-8548
                                   sgaunt@steelmanandgaunt.com

                                   ATTORNEYS FOR PLAINTIFF




                                         2
 Case: 4:13-cv-00579-JAR Doc. #: 39 Filed: 01/07/14 Page: 3 of 3 PageID #: 1072




                               CERTIFICATE OF SERVICE

       I hereby certify that on January 7, 2014, the foregoing was filed electronically with the
Clerk of the Court to be served by operation of the Court’s electronic filing system upon the
following:

Stephen F. Gaunt, Esq.
STEELMAN, GAUNT & HORSEFIELD
901 Pine Street, Suite 110
Rolla, MO 65401
T: 573.458.5231
sgaunt@steelmanandgaunt.com




                                                   /s/ Brandon B. Cate
                                                   Brandon B. Cate




                                               3
